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Case 1:13-cv-01297-.]KB Document 1 Filed 05/01/13 Page 1 of 5

IN THE UNITED STATES DISTRICT C()URT
FOR THE DISTRICT OF MARYLAND

 

SYREETA LEwrs,
: No.
Plainrifr ; ;"___",T§’m -...___
l JKBizcvizo? "~“°”‘e
"' 1 f MAY ‘ 1,2013
PoRTFoLIo RECOVERY ; magma
AssoctATEs, LLC ; B, °'S’“‘°T°"=SHL°»HEBS”'
` DE=un
Defendant

NOTICE OF REM()VAL

To: Clerk - United States District Court for the
District of Maryland, Northern Division

PLEASE TAKE NOTICE THAT, on this date, Defendant Portfolio Recovery

Associates, LLC ("PRA"), pursuant 10 28 U.s.C. § 1441(b) and 28 U.s.c. § 1331, hereby

 

removes the above captioned matter to this Court from the Circuit Court of Maryland for
Baltimore City. In support thereof, PRA avers as follows:

l. On or about March 22, 20]3, Plaintiff filed a Complaint in the Circuit Court of
Maryland for Baltimore City, at case number 03-C-001628. (A true and correct copy of
Plajntist Complaint is attached hereto and marked as Exhibit “A”).

2. PRA was served with Plaintiff‘S Complaint on April l, 2013.

3. Plaintiff's Cornplaint alleges that PRA violated the Fair Debt Collection Practices

Act, 15 U.S.C. § 1692, et seq. by allegedly filing a collection complaint without sufficient proof

 

of ownership of Plaintiffs defaulted consumer debt. §e_g Pla.intit`t‘s Complai.ntJ Count I_

 

 

 

 

Case 1:13-cv-01297-.]KB Document 1 Filed 05/01/13 Page 2 of 5

4. Based on the foregoing, PRA has timely filed this Notice of Removal within thirty
days of being served with the Complaint and within thirty days of the date that the Action was
first removable B 28 U.S.C. § l446(b).

5. This case is a civil action of which this Court has original jurisdiction under 28
U.S.C. § 1331, and is one Which may be removed to this Court by PRA pursuant to the
provisions of 28 U.S.C. § l441(b), in that Plaintiff has alleged, inter alia, that PRA violated the
Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq., thereby asserting claims that arise
under federal law.

6. In that the causes of action alleged by Plaintiff arise from the performance of
obligations of the parties within Baltimore City, Marylarid, the United States District Court for
the District of Maryland, Northern Division, should be assigned the Action.

7. PRA, upon filing this Notice of Removal in the office of the Clerk of the United
States District Court for the District of Maryland, Northern Division, has also caused to be filed
copies of this Notice with the Clerk of Court for the Circuit Court of Maryland for Baltimore

City to effect removal of this action pursuant to §1446(d). ge Exhibit "B".

 

 

Case 1:13-cv-01297-.]KB Document 1 Filed 05/01/13 Page 3 of 5

WHEREFORE, Defendant Portfolio Recovery Associates, LLC hereby notifies this
Honorable Court that this action is removed from the Circuit Court of Maryland for Baltirnore
City to the United States District Court for the District of Maryland, Northern Division, pursuant
to the provisions of 28 U.S.C. §§1331, and 1446.

Respectfully submitted,

MARSHALL, DENNEHEY, WARNER,

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L§¥UREN M. BURNETTE, ESQUIRE
Attorney No. 29597

4200 Crums Mill Road, Suite B
Harrisburg, PA 17112

(717) 651-3703
lmburnette@mdwcg.com

Counsel for Defendant

    

 

Dated: "H?>Ol l%

 

 

 

Case 1:13-cv-01297-.]KB Document 1 Filed 05/01/13 Page 4 of 5

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

SYREETA LEW]S,
No.
Plaintiff
v.
PORTFOLIO RECOVERY
ASSOCIATES, LLC,
Defendant
PRO()F OF MAILING

I hereby certify that on April 30, 2013, the original of the Within Notice of Removal was
sent to the Clerk of the United States District Court for the District of Maryland, Civil Division,
to be filed and that a copy of the same WaS forwarded to the following interested persons as
follows:

 

NAME AND ADDRESS
E. David Hoskins, Esquire Clerk
Max F. Brauer, Esquire Circuit Court for Baltimore City
Law Offices of E. David Hoskins, LLC lll N. Calvert St.
Quadrangle Building at Cross Keys Baltimore, MD 21202

2 Harnill Road, Suite 362
Baltimore, MD 21210

 

 

Case 1:13-cv-01297-.]KB Document 1 Filed 05/01/13 Page 5 of 5

VERIFICATION

l certify that the foregoing statements made by me are true. I understand that if any of
the foregoing statements made by me are w"l\lfully false, I arn subject to punishment

 

LAUREN M. BURNETTE, ESQUIRE
Counsel for Defendant

Dated: lil?;.() l lS

 

